Case 1:19-cv-00345-CKK Document1-1 Filed 02/11/19 Page 1 of 2

CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
I. (2) PLAINTIFFS DEFENDANTS i
Clifford David Sims Donald J. Trump, in official capacity as President; United

(b) COUNTY OF RESID
(

ENCE OF FIRST LISTED PLAINTIFF
EXCEPT IN U.S, PLAINTIFF CASES)

States of America

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT

(IN U.S, PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

(c) ATTORNEYS (FIRM

1250 Connecticu
Washington, D.C
(202) 454-2809

Mark S. Zaid, P.C

NAME, ADDRESS, AND TELEPHONE NUMBER)

t Avenue, N.W., Suite 700
. 20036

ATTORNEYS (IF KNOWN)

Il. BASIS OF JUR

Plaintiff

Defendant

(PLACE AN x IN ONE BOX ONLY)

1 U.S. Government

© 2 U.S. Government

ISDICTION

O 3 Federal Question
(U.S. Government Not a Party)

O 4 Diversity
(Indicate Citizenship of
Parties in item III)

Foreign Country

Incorporated or Principal Place

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

PTF

O.4

DFT

O04

of Business in This State

Incorporated and Principal Place Oo 5

O5

of Business in Another State

PTF DFT
Citizen of this State oO | oO l
Citizen of Another State O 2 O 2
Citizen or Subject of a oO 3 oO 3

Foreign Nation

Os O+6

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

©: “A:

Antitrust

(J 410 Antitrust

© B. Personal Injury/
Malpractice

(__] 310 Airplane

(J 315 Airplane Product Liability

[J 320 Assault, Libel & Slander

[__] 330 Federal Employers Liability

[1] 340 Marine

((_] 345 Marine Product Liability

[__] 350 Motor Vehicle

[J 355 Motor Vehicle Product Liability

[__] 360 Other Personal Injury

[__] 362 Medical Malpractice

[J 365 Product Liability

[J 367 Health Care/Pharmaceutical
Personal Injury Product Liability

[] 368 Asbestos Product Liability

© C. Administrative Agency
Review

[J 151 Medicare Act

ial i
] 861 HIA (1395ff)

[__] 862 Black Lung (923)
[_] 863 DIWC/DIWW (405(g))
[) 864 SSID Title XVI
[] 865 RSI (405(g))
Other Statutes
891 Agricultural Acts
[__] 893 Environmental Matters
(J 890 Other Statutory Actions (If
Administrative Agency is
Involved)

© D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category
may be selected for this category of
case assignment.

*(If Antitrust, then A governs)*

© E. General Civil (Other)

OR

O F. Pro Se General Civil

[]380 Other Perso
Damage

Real Pri
[ ]210 Land Condemnation

[]290 All Other Real Property

1370 Other Fraud

(]371 Truth in Lending

[__]385 Property Damage
Product Liability

Bankr
(__] 422 Appeal 27 USC 158

550 Civil Rights

i]
[1 555 Prison Conditions
=)

of Confinement

Property Righ
[ 520 Copyrights

(_] 830 Patent

nal Property

Drug Application
[1] 840 Trademark

560 Civil Detainee — Conditions

(_] 835 Patent — Abbreviated New

Federal Tax Suits
[__] 870 Taxes (US plaintiff or

(_]220 Foreclosure [J 423 Withdrawal 28 USC 157 defendant)
[__]230 Rent, Lease & Ejectment [__] 871 IRS-Third Party 26 USC
[]240 Torts to Land ri er é i i us 7609
245 Tort Product Liability 535 Death Penalty ee
CI [J] 540 Mandamus & Other Forfeiture/Penalt

(__] 625 Drug Related Seizure of
Property 21 USC 881
[] 690 Other

Other Statutes

[__] 375 False Claims Act

[_] 376 Qui Tam (31 USC
3729%a))

f=] 400 State Reapportionment

[__] 430 Banks & Banking

[_] 450 Commerce/ICC
Rates/etc.

[__] 460 Deportation

(_] 462 Naturalization
Application

[_] 465 Other Immigration
Actions

(] 470 Racketeer Influenced
& Corrupt Organization

[] 480 Consumer Credit

(__] 490 Cable/Satellite TV

[J 850 Securities/Commodities/
Exchange

[_] 896 Arbitration

[__] 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

[__] 950 Constitutionality of State
Statutes

(XJ 890 Other Statutory Actions
(if not administrative agency
review or Privacy Act)

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© G. Habeas Corpus/ © H. Employment © I. FOIA/Privacy Act © J. Student Loan
2255 Discrimination
[] 530 Habeas Corpus — General [_] 442 Civil Rights - Employment [] 895 Freedom of Information Act | [—]152 Recovery of Defaulted
[1510 Motion/Vacate Sentence (criteria: race, gender/sex, [) 890 Other Statutory Actions Student Loan
[] 463 Habeas Corpus — Alien national origin, (if Privacy Act) (excluding veterans)
Detainee discrimination, disability, age,
religion, retaliation)
*(If pro se, select this deck)* *(Lf pro se, select this deck)*
© K. Labor/ERISA © L. Other Civil Rights O M. Contract O N. Three-Judge
(non-employment) (non-employment) Court

[J 110 Insurance
i" 710 Fair Labor Standards Act fact 441 Voting (if not Voting Rights f=] 120 Marine Cl 441 Civil Rights — Voting
[__] 720 Labor/Mgmt. Relations Act) [J 130 Miller Act (if Voting Rights Act)
[__] 740 Labor Railway Act [__] 443 Housing/Accommodations CJ 140 Negotiable Instrument
(__]751 Family and Medical [__] 440 Other Civil Rights [1150 Recovery of Overpayment

Leave Act (] 445 Americans w/Disabilities — & Enforcement of
{__] 790 Other Labor Litigation Employment Judgment
(__] 791 Empl. Ret. Inc. Security Act [] 446 Americans w/Disabilities — (153 Recovery of Overpayment
Other of Veteran’s Benefits
[1] 448 Education (_] 160 Stockholder’s Suits

[__] 190 Other Contracts

(J 195 Contract Product Liability

[1] 196 Franchise
V. ORIGIN
© 1 Original ©2Removed © 3Remanded © 4Reinstated © 5 Transferred © 6 Multi-district © 7 Appeal to O 8 Multi-district

Proceeding from State from Appellate or Reopened from another Litigation District Judge Litigation -
Court Court district (specify) from Mag. Direct File

Judge

VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
Challenge to Presidential action violating First Amendment of US Constitution & seeking Declaratory Judgment

VII. REQUESTED IN CHECK IF THIS IS A CLASS DEMAND §$ Check YES only if demanded in complaint
COMPLAINT ACTION UNDER F.R.C_P. 23 JURY DEMAND: YES noLxX ]
VII. RELATED CASE(S) (See instruction) YES poe NO [xX ] If yes, pleas¢tomplete related case form
IF ANY Mee ee
VM ee AAA od
pate; _ February 11, 2019 SIGNATURE OF ATTORNEY OF RECORD Vuh. oa

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INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

I. COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

Ill. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
under Section II.

IV. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
nature of suit found under the category of the case.

VL CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

Vil. RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
the Clerk’s Office.

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.

